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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF VIRGINIA
                                LYNCHBURG DIVISION

                                                 )
UNITED STATES,                                   )
                                                 )
                Plaintiffs,                      )
                                                 )
         v.                                      )
                                                   Case No. 6:22-cv-28-NKM
                                                 )
ENVIGO RMS, LLC,                                 )
                                                 )
                Defendant.                       )
                                                 )
                                                 )
                                                 )


              DECLARATION OF DR. JOHN E. SAGARTZ, DVM, PHD, DACVP


         I, John E. Sagartz, DVM, PhD, DACVP, declare the following to be true and correct to

the best of my knowledge:

         1.     I have been the Chief Strategy Officer at Inotiv Inc. (“Inotiv”) since November

2018. Inotiv is a leading contract research organization specializing in nonclinical and analytical

drug discovery and development services.

         2.     I began my career as a toxicologic pathologist at Searle/Monsanto in 1996. I

served as a section head, director, and preclinical development site head at Pharmacia following

its merger with Monsanto. I founded Seventh Wave Laboratories in 2003 and served as the

company’s president and chief executive officer, and chief strategy officer over the course of 15

years.

         3.     I received my Bachelor of Science and Doctor of Veterinary Medicine degrees

from Kansas State University and, after completing residency training in anatomic pathology,

earned my Doctor of Philosophy from The Ohio State University.
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       4.      To the best of my knowledge, the matters set forth in this declaration are true and

correct.

       5.      Inotiv acquired Envigo RMS, LLC (“Envigo”) in November 2021. Envigo

provides a broad range of animal research models and related services to the pharmaceutical and

biotechnology industries, government, academia and other life science organizations. It is the

second largest producer of canines for use in medical research and clinical testing.

       6.      Envigo’s Cumberland, Virginia facility (the “Cumberland Facility”) is a USDA-

regulated animal production facility focused on the generation of beagle dogs. These purpose-

bred beagle dogs are essential for biomedical research and the development of lifesaving drugs

and medical devices. Specifically, these dogs are instrumental to evaluating the efficacy and

safety of novel medicines, including those designed to treat various cancers and autoimmune

disorders amongst other conditions.

       7.      Pursuant to Food and Drug Administration (“FDA”) guidance, certain new

molecule medicines and biomedical devices must be evaluated in at least two animal species, at

least one of which is not a rodent. Additionally, other domestic and international regulatory

authorities require laboratory animal testing prior to clinical trials, both for general toxicity and

for specific patient populations, including women of childbearing age, juveniles, and those with

rare diseases. Failure to conduct these studies has historically demonstrated unacceptable levels

of risk in human clinical trials, and a lack of this testing would result in regulatory “hold” before

such human clinical trials would be allowed to progress.

       8.      Historically, the Envigo Cumberland facility has produced up to 25 percent of the

beagle dogs used domestically in the development of new medicines.




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       9.      In the months before this lawsuit was filed, Envigo (and later Inotiv) were

working closely with the United States Department of Agriculture (“USDA”) to address

concerns raised about the facility. Since then, Envigo and Inotiv have devoted millions of

dollars in upgrading the facility.

       10.     These improvements include: (1) enhanced staff training, (2) visual que cards for

reference throughout the site, (3) enhanced pest control while ensuring we would not expose the

canines to poisonous toxins, (4) enhanced treatment forms to capture additional information, (5)

infrastructure changes to eliminate any flooring/panel gaps, and (6) installing HVAC units to

maintain temperature compliance.     Envigo also hired additional staff, including a veterinarian

and two veterinary technicians, and increased salaries, and offered additional incentives to

bolster its workforce.

       11.     As a result of these changes, the Cumberland facility saw significant improvement

in health outcomes, including an approximately 60 percent drop in post-wean mortality. A

USDA inspection report from early May 2022 reflected the significant improvements that

resulted from Envigo and Inotiv’s compliance efforts, citing only one non-direct non-compliance

which involved flooring (which currently cannot be obtained due to supply chain issues).

       12.     On May 18, 2022, as Inotiv and Envigo were in the midst of implementing even

more improvements, federal agents raided the facility.

       13.     Since this Court’s May 21, 2022 Order, Envigo and Inotiv have continued to

devote substantial resources to complying with the Order and to bringing the facility into full

compliance with the Animal Welfare Act and its implementing regulations.

       14.     In light of the serious allegations raised in the Complaint, and despite a

tremendous investment of resources to comply with the Order, Inotiv and Envigo are now



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considering winding down operations at the facility and transferring all dogs currently housed

there to fulfill their intended role in biomedical research or to more suitable homes. This would

serve the dual purposes of removing beagles from the Cumberland facility and advancing

pharmaceutical research.

       15.     The Government action that resulted in the halting of operations at the

Cumberland Facility has had and will continue to have a significant impact on new drug

development and testing in the United States.

       16.     There are a number of early stage medicines that will be unable to progress to

human clinical trials if Envigo is unable to fulfill existing orders for beagle dogs. Given the

relatively few alternative provides of animals for these purposes it is likely that critical research

and drug development will be delayed. We believe that pharmaceutical companies will continue

developing their products through off-shored contracts, most likely in China, where animal

welfare practices are almost certainly less robust and unmonitorable.

       17.     The Cumberland facility currently houses 3,188 canines, including 3,035 canines

over 6 weeks in age, 56 mothers with pre-wean litters, and 97 pregnant or mated females.

Envigo has existing contractual commitments to ship out more than 500 dogs within the next 30

days. Inotiv and Envigo believe that the transfer of dogs out of the Cumberland Facility through

the fulfillment of existing customer orders would significantly minimize the immediate and long-

lasting impact of this litigation on the pharmaceutical industry.




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